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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
NORTHERN DIVISION

IN THE MATTER OF AN APPLICATION) MEMORANDUM IN SUPPORT FOR
BY THE UNITED STATES OF AMERICA ) APPLICATION FOR AN
FOR AN ADMINISTRATIVE SEARCH _ ) ADMINISTRATIVE SEARCH WARRANT

WARRANT PURSUANT TO TITLE 8, __) ' LRA
UNITED STATES CODE, SECTION 1357 _) MISC No. 3:!4 MI a

 

UNDER SEAL
TO SEARCH THE PREMISES:
KOCH FOODS OF MISSISSIPPI, LLC
108 Morris Tullos Dr.
Morton, MS 39117
MEMORANDUM OF LAW

The United States of America respectfully submits this memorandum in support of its
application to enter the premises of KOCH FOODS OF MISSISSIPPI, LLC, 108 Morris Tullos
Dr. Morton, MS 39117 (hereafter “the PREMISES”), for the purpose of making such search as is
reasonably necessary to locate aliens who are suspected of being within the United States
without legal authority and who are therefore subject to removal proceedings pursuant to
Sections 212(a), 237, and 240 of the Immigration and Nationality Act ("INA"), 8 U.S.C. Sections
1182(a), 1227 & 1229a,and to take such actions, with respect to those aliens, as authorized by

Sections 103(a), 279, and 287 of the Immigration and Nationality Act, Title 8, United States

Code, Sections 1103(a),1329, and 1357.

BACKGROUND
Pursuant to INA Section 287(a), 8 U.S.C. § 1357(a), Homeland Security Investigations

Agents (“HSI”) are empowered to investigate violations of the immigration laws and to detain,
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interrogate, and arrest, without a warrant, any alien believed to be in the United States in
violation of those laws!. As set forth in the accompanying affidavit of HSI Special Agent
Anthony Todd Williams, Jr., (“Williams Aff."), HSI has reason to believe that aliens present in
the United States without legal authority are working at the PREMISES. Accordingly, the Court
should grant the application to enter and search the PREMISES for aliens who are in the United

States in violation of the immigration laws.

DISCUSSION

A. Statutory Background and Legal Standards

Aliens who enter the United States by illegal means or who enter on certain
nonimmigrant visas are not authorized to accept employment. See 8 C.F.R. §§ 214.1(e),
274a.12(c) (2008); see also 8 U.S.C. § 1324a(h)(3) (aliens not authorized to accept
employment in the United States are those who are neither lawful permanent residents nor are
authorized by statute or by the Attorney General to accept employment). Nonimmigrants who
accept employment or who overstay their visas and aliens who have, entered the United States
illegally or are otherwise unlawfully present in this country are subject to removal under the
INA. See 8 U.S.C. §§ 1182(a)(6)(A), 1182(a)(9), 1227(a)(1)(B) &1227(a)(1)(C). Moreover,
employers who knowingly hire and continue to employ aliens not authorized to work in the

United States are in violation of INA Sections 274A(a)(1) and (2), 8 U.S.C. §§ 1324a(a)(1) &

(2).

 

1 The Homeland Security Act of 2002, Pub. L. 207-96 §§ 441,451, 471; 116 Stat. 2135, 2136-37 (2002), abolished
the Immigration and Naturalization Service (“INS”) and transferred responsibility for immigration enforcement to
the Department of Homeland Security (“DHS”), of which ICE is a component. ICE was renamed as U.S.
Immigration and Customs Enforcement, Homeland Security Investigations (“HSI”).

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Congress has charged the Attorney General (now the Secretary of Homeland Security)
with the responsibility for implementing these and other provisions of the INA. See 8 U.S.C. §
1103(a). The Secretary of Homeland Security has in turn delegated his authority to ICE. See 8
C.F.R. §§ 1.1, 2.1 & 100.2 (2008); 28 C.F.R. §§ 0.105 & 0.108 (2008). Therefore, as the
Government agency primarily vested with the administration of the immigration laws, HSI may
seek and obtain authorization from the courts in order to search for aliens present in the United
States without legal authority. See Blackie's House of Beef, Inc. v. Castillo, 659 F.2d 1211 (D.C.
Cir.), cert. denied, 455 U.S. 940 (1981) ("[t]he Supreme Court has held that, in the civil area,
administrative agencies . .. may obtain warrants when . . .searches will aid in the performance of
regulatory functions"); INS v. Delgado, 466 U.S. 210, 217 & n.5 (1984) (INS agents acting under
search warrants were "lawfully present" in factory). See also 8 U.S.C. §§ 1357(a)(1) & (2) (ICE
empowered without warrant "to interrogate any alien or person believed to be an alien as to his
right to be or to remain in the United States" and "to arrest any alien . . . [who is] in the United
States in violation of any such law").

In Blackie's House of Beef, the leading case on the subject, the District of Columbia
Circuit expressly sanctioned civil court orders permitting INS officers to enter premises where
illegal aliens are believed to be present in order to question and, if necessary, arrest them. See
659 F.2d at 1226-28. In Blackie’s, the D.C. Circuit upheld a warrant that permitted INS agents to
enter a restaurant to locate, question, and arrest illegal aliens, even though the agents could not
present evidence beforehand supporting an "individualized suspicion" that any specific named
illegal alien was working there. /d. at 1225. The court, citing the difficulties inherent in
identifying and locating illegal aliens, declined to require the INS to identify specific individuals

working on the premises, and held that to do so would "require[] the INS to meet a standard of
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probable cause so unrealistically restrictive as to cripple [its] statutory mandate to enforce the
[INA]." /d. The District of Columbia Circuit thus recognized that the quantum of proof necessary
to support a civil administrative warrant in such circumstances and meet Fourth Amendment
requirements is significantly less than that required for a criminal warrant. See Blackie's, 659
F.2d at 1222 (a warrant to "search [a restaurant for illegal aliens suspected of working there] was
... unsuited to the application of traditional probable cause standards") (citing Marshall v.
Barlow's, Inc.,436 U.S. 307, 320 (1978)); see also Int'l Molders' & Allied Workers' Local Union
No. 164 v. Nelson, 799 F.2d 547, 552 (9thCir. 1986)(agreeing with Blackie ’s that narrowing the
field of potentially vulnerable persons to those whom INS agents “might reasonably believe to be
aliens” satisfies the requirements of the Fourth Amendment even where the targeted persons are
not identified by name.) (quoting Blackie's); Kotler Industries. Inc. v. INS, 586 F. Supp. 72, 75
(N.D. Ill. 1984) ("INS may obtain a search warrant by satisfying a more flexible standard of
probable cause than that traditionally applied in criminal cases").

For this reason, the D.C. Circuit in Blackie’s held that the INS's application for such a
search warrant need not specifically name the suspected illegal aliens as long as the application
and its supporting affidavits narrow the field of persons potentially vulnerable to the search to
those whom agents reasonably believe to be illegal aliens. See 659 F.2d at 1226; see also
Ramirez v. Webb, 835 F.2d 1153, 1158 (6th Cir. 1987) (holding that no constitutional or statutory
right was violated by warrant application's failure to particularly describe subject aliens); English
v. Sava, 571 F. Supp. 1029, 1039 (S.D.N.Y. 1983) ("names and precise physical descriptions [of
aliens sought] are not the only indicia of specificity that will suffice to assure that the discretion
exercised by the INS is adequately guided and focused to comport with the Fourth Amendment

requirements").
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Under the "more flexible definition of probable cause," Blackie's, 659 F.2d at 1222, ICE
may obtain a search warrant by showing either (1) specific evidence of an existing violation at
a particular place or (2) that the search will be conducted according to reasonable legislative or
administrative standards, id. at 1222-23, so that "the warrant curb[s] the discretion of the INS
agents sufficiently to guard against the exercise of unbridled discretion on the part of the INS."
Id. at 1228. See also Int'l Molders', 799 F.2d at 547 (terms of INS search warrant "must .. .
prevent the agents from having uncontrolled discretion to rummage everywhere in search of
seizable items once lawfully within the premises")(citing Blackie's).

Therefore, under Blackie's, an application for an HSI search warrant is "reasonable" by
Fourth Amendment standards if it (1) adequately describes the place to be searched (e.g.,
premises described and named by a street address); (2) reasonably limits the time within which
the search may take place (e.g., daylight hours within ten days of issuance of the warrant); (3)
describes, as closely as reasonably possible, the persons sought (e.g., "aliens in the United States
without ‘legal authority’); and (4) restricts ICE agents to searching only those places where such
persons are likely to hide or where records of their illegal employment may be kept. See 659
F.2d at 1214-16. Affidavits submitted in support of the warrant application in Blackie's
provided the court with credible reasons to suspect that illegal aliens were on the subject
premises. Id. at 1226.

B. The Instant Application and Supporting Affidavit

The warrant application and supporting affidavit meet the legal requirements established
by the District of Columbia Circuit in Blackie’s. The affidavit gives the address of the

PREMISES to be entered and a description of the PREMISES. See William’s Aff. { 1(a). The
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proposed warrant also places appropriate limits on the search. It allows ICE agents a specific
window (i.e., between 6:00 a.m. and 6:00 p.m., see Proposed Warrant) in which to search the
PREMISES, a limited time-frame when aliens subject to the warrant are expected to be present
and working on the PREMISES. The warrant requires that the search be executed within ten days
of its issuance. See Proposed Warrant.

The warrant properly "narrows down the field of potentially vulnerable persons,"
Blackie's, 659 F.2d at 1226, to only those illegal aliens believed to be working unlawfully at the
PREMISES. Consequently, Special Agent Lindgren’s affidavit satisfies the standard set forth in
Blackie's, 659 F.2d at 1214-16. Like the affidavit submitted with the warrant application in that
case, it contains specific evidence "suggesting that. .. persons working in. . .areas of the
[establishment] [a]re possibly illegal aliens, and g[ives] credible reasons for the affiant['s]
suspicions." /d. at 1226. In sum, the application satisfies the requirements for the issuance of the

warrant, and accordingly should be granted.

CONCLUSION

For the foregoing reasons, the Court should grant the application and issue the warrant.

Respectfully submitted,

D. MICHAEL HURST, JR.
United States Attorney

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